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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF LOUISIANA

IN RE: CHINESE-MANUFACTURED                       MDL NO. 2047
DRYWALL PRODUCTS LIABILITY                        SECTION: L
LITIGATION                                        JUDGE FALLON
                                                  MAG. JUDGE WILKINSON
THIS DOCUMENT RELATES TO:
ALL CASES AND

Silva, et al. v. Interior Exterior Building
Supply, LP, et al.
Case No. 09-08030 (E.D. La.)

Silva, et al. v. Arch Insurance Company, et al.
Case No. 09-08034 (E.D. La.)

Payton, et al. v. Knauf Gips, KG, et al.
Case No. 09-07628 (E.D. La.)

Wiltz, et al. v. Beijing New Building Materials
Public Limited Co., et al.
Case No. 2:10-cv-00361 (E.D. La.)

Gross, et al. v. Knauf Gips, KG, et al.
Case No. 2:09-cv-6690 (E.D. La.)

Rogers, et al. v. Knauf Gips, KG, et al.
Case No. 2:10-cv-00362 (E.D. La.)

Amato, et al. v. Liberty Mutual Ins. Co.
Case No. 2:10-cv-00932 (E.D. La.)

Kenneth Abel, et al. v. Taishan Gypsum Co.,
Ltd., f/k/a Shandong Taihe Dongxin Co., Ltd.,
et al.
Case No. 2:11-080 (E.D. La)

Daniel Abreu, et al. v. Gebrueder Knauf
Verwaltungsgesellschaft, KG, et al.
Case No. 2:11-252 (E.D. La.)

       JOINT MOTION FOR AN ORDER: (1) PRELIMINARILY APPROVING
            INEX SETTLEMENT AGREEMENT; (2) CONDITIONALLY
          CERTIFYING INEX SETTLEMENT CLASS; (3) ISSUING CLASS
      NOTICE; AND (4) SCHEDULING A SETTLEMENT FAIRNESS HEARING
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       Proposed Settlement Class Counsel, the Plaintiffs’ Steering Committee (“PSC”), Counsel

for Interior/Exterior Building Supply, L.P. (“InEx”), and Counsel for InEx’s insurers, Arch

Insurance Company and Liberty Mutual Fire Insurance Company (“Insurers”), hereby jointly

move this Court for an Order:

       1.      Conditionally certifying the InEx Class and Subclasses for purposes of settlement;

       2.      Granting preliminary approval to the proposed settlement detailed in the

Settlement Agreement Regarding Claims Against Interior-Exterior in MDL 2047 dated April 25,

2011 (the “InEx Settlement”);

       3.      Appointing the following representatives for the Louisiana Subclass: Dean and

Dawn Amato, Byron and Debra Byrne, Donald and Marcelyn Puig, and Edward and Susan

Beckendorf;

       4.      Appointing the following representatives for the Non-Louisiana Subclass: Danny

and Celeste O’Keefe;

       5.      Appointing Russ Herman and Arnold Levin as Settlement Class Counsel and

appointing the PSC as Of-Counsel;

       6.      Appointing Gerald E. Meunier as Counsel for the Louisiana Subclass, and

appointing James Robert Reeves as Counsel for the Non-Louisiana Subclass;

       7.      Approving the form and manner of Notice to InEx Class Members with deadlines

for Exclusion Requests and Objections; and

       8.      Scheduling a Settlement Fairness Hearing, and granting other relief.

       The Parties stipulate to the Court in this request for entry of the accompanying

Preliminary Approval Order that (i) the Class is being certified for settlement purposes only

pursuant to the Settlement, (ii) the Settling Defendants reserve the right to object to class

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certification de novo in the event this Settlement is terminated for any reason, including

termination pursuant to Section 13 of the Settlement, and (iii) this Settlement shall have no

precedential effect with regard to certification of a litigation class that may arise if this matter is

not fully and completely resolved through this settlement effort, or otherwise.

        This Joint Motion is supported by the accompanying Memorandum of Law and the InEx

Settlement Agreement (with exhibits) filed contemporaneously herewith.

        WHEREFORE, proposed Settlement Class Counsel, the PSC, InEx and the Insurers

respectfully request that, after due consideration, the Court: 1) grant this Motion for Preliminary

Approval of Settlement and Certification of a Conditional Settlement Class and 2) issue the

proposed Order Preliminarily Approving InEx Settlement and Providing for Class Notice.

                                                Respectfully submitted,



Dated: April 26, 2011                           /s/ Russ M. Herman
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                                CERTIFICATE OF SERVICE

        I hereby certify that the above and foregoing Joint Motion for an Order: (1) Preliminarily
Approving Inex Settlement Agreement; (2) Conditionally Certifying Inex Settlement Class; (3)
Issuing Class Notice; and (4) Scheduling a Settlement Fairness Hearing has been served on
Defendants’ Liaison Counsel, Kerry Miller, by e-mail and upon all parties by electronically
uploading the same to LexisNexis File & Serve in accordance with Pre-Trial Order No. 6, and
that the foregoing was electronically filed with the Clerk of Court of the United States District
Court for the Eastern District of Louisiana by using the CM/ECF System, which will send a
notice of electronic filing in accordance with the procedures established in MDL 2047 on this
26th day of April, 2011.


                                             /s/ Leonard A. Davis
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